             Case 4:25-cv-02848              Document 1-2            Filed on 06/18/25 in TXSD               Page 1 of 8
                                                                                 EXHIBIT A




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 31461164
Notice of Service of Process                                                                            Date Processed: 05/20/2025

Primary Contact:           Tessa Manzanarez
                           Sunrun Inc.
                           600 California St
                           Ste 1800
                           San Francisco, CA 94108-2704

Electronic copy provided to:                   Corp Legal
                                               Ahmed Al-Barkawi
                                               Kelley Molton
                                               Pam Buckley
                                               Anjali Patel
                                               Haley Hodgkins
                                               Jennifer Wilson
                                               Jay Maloney

Entity:                                       Sunrun Inc.
                                              Entity ID Number 3933196
Entity Served:                                Sunrun, Inc.
Title of Action:                              Dianira Correa vs. Sunrun, Inc.
Matter Name/ID:                               Dianira Correa vs. Sunrun, Inc. (17348423)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Property
Court/Agency:                                 Fort Bend County District Court, TX
Case/Reference No:                            25-DCV-329333
Jurisdiction Served:                          Texas
Date Served on CSC:                           05/20/2025
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Chavana Law, PLLC
                                              713-979-2941

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                 Case 4:25-cv-02848                                     Document 1-2                                 Filed on 06/18/25 in TXSD                                   Page 2 of 8
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                                                                                                THE STATE OF TEXAS
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            .'ß            $TR#CT CLERK                                                                          CITATION
           TO:    SUNRUN, INC.
                  REGISTERED AGENT CORPORATION SERVICE COMPANY
                  D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY
                  211 E 7TH STREET SUITE 620
                  AUSTIN TX 78701-3136


           NOTICE:                                                                                   - ~~r.ar.•,.~ ~:.~.s.~ ,~"~'`'~C,;...
                       " ..                                                 ~'~'~°'x.;                                     _
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           You have been sued. You~may emplov                                                 attorne}. If you or,.your attorney do not file a written acnswer with the
           clerk:who issued this citation by 1x0:00 anl. on Monday next fol[owirig #he;expii`ation.;of twenty days after you were
           senied this citation and~PLAINTIFF'S ORIGINAL PETITION fil'ed on May 06, 2025, a default judgment may be
           taken against you. In addition to filmg a wrifien answer with the, clerk, you may"be required to make initial
           disclosures to the other parties of this suit rTFiese disclosures generally must b~made no •later than 30 days after
           you file your an`s•wer with the clerk. Find outmore at TexasLawHelp.org. ~~~
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           The case is-pr aently pendmgbefore the~2,40THJUDICIAL DISfRICT COURT ofFort                                                                                         end°Cflunty sitting in
           Richmond, T:exas: It bears eause number 25-DCV-329333 and•~:is styled:   •j

           DIANIRA.CORREAVS: SUNRUN,INC ~                                                   ~,`°.,~..—                         -~   •~ia~iM'            ~
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           The rttne and address,åf''tkie attorney for PLAINTIFF(S) i*s:
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                                             r                    ff              'y                         k
           SERGIO PEREZ             ~                                                                                         *,~,. ~'                             ~•r;   ;                 ~~~t .. ' , ,;
           CHAVANA LAW PLLC~ :        ~t' .                                         •. - y
           2702;,LITTLE YORK RD ~                                                       ~                                                                       .         ~          ~       ~ s`•
           HOUSTOIì TX 77093    ~         "                                              ~                                                                      ,~
           713 979-2941     ~ ~   3     'x                                                                                                          ° +` ,+•'        ~ ~                     t~y

           The ;nature of the demands .of .said: PLAINTIFF(S) is shown by a true and correct;;co. y of the PLAINTIFF'S
           ORIGINAL PETITION accompanyrng;this,citation and made a part hereof.

           If this Oitation is..not served, it siiall be returned unserved. Issued under my hand:and~sealKof sai Court, at
           Richmorid;`Texas,rr,on this the l 2th d'ay of May, 2025 ~y :.~                ~"    ~ ~`"
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                                                                                                     By:
                                                                                                                  Deputy District Clerk C RLENE BLUM
                                                                                                                  Telephone: (281) 341-4515
       Case 4:25-cv-02848                   Document 1-2                Filed on 06/18/25 in TXSD                       Page 3 of 8
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25-DCV-329333                                                240th Judicial District Court
Dianira Correa vs. Sunrun, Inc.

                                     OFFICER'S OR AUTHORIZED PERSON'S RETURN

Came to hand on the                     day of                                              , 20_, at            o'clock _M.        Executed
at                                                                               , within the County of
                                         at       o'clock _M. on the                         day of
20_, by delivering to the within named
            in person, a true copy of this citation together with the accompanying copy of the petition, having first
attached such copy of such petition to such copy of citation and endorsed on such copy of citation the date of
delivery.

Total fee for serving _       citation at $80.00 each


                                                              Name of Officer or Authorized Person

                                                                                                                 County, Texas

                                                             By:
                                                                   Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF. CONSTABLE. OR CLERK OF THE COURT.
In accordance with TRCP Rule 107(e): The officer or authorized person who serves or attempts to serve a citation must sign the
return. If the return is signed by a person other than a sheriff, constable, or the clerk of the court, the return must either be
verified or be signed under penalty of perjury. A return signed under penalty of perjury must contain the statement below in
substantially the following form:


"My name is                                                                                 , I am at least 18 years old, and my address is
                                     (First, Middle, Last)

                                                                                                          and                 . I declare
                (Street)                                (City)                (State)       (Zip Code)            (Country)

under penalty of perjury that the foregoing is true and correct. Executed in                                     County, State of

on the             day of
                                  (Month)               (Year)



                                                                                        Deelarant / Authorized Person



                                                                                   (ID # and Expiration of Certification)




                                                                   ORIGINAL

Citation issued to Sunrun, Inc. on 5/12/2025.
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                                      Cause Number: 25-DCV329333



    DIANIRA CORREA                                    §      IN THE DISTRICT COURT OF

    VS.                                               §      FORT BEND COUNTY, TEXAS
                                                      §
    SUNRUN, INC.                                      §             TH JUDICIAL DISTRICT



                                     PLAINTIFF'S ORIGINAL PETITION

    To The Honorable Judge of Said Court:

    COMES NOW Dianira Correa ("Dianira" or "Plaintiff'), complaining of Sunrun, lnc.("Sunrun" or
    "Defendant") and would show the Court the following.

                                        I. DISCOVERY CONTROL PLAN

    1.0 A Level 1 discovery plan appropriate. However, Plaintiff(s) reserve(s) the right to request entiy of an
    order establishing a Level 3 discovery plan.

                                                     II. PARTIES

    2.0 Plaintiff resides in Harris County, Texas.

    2.1 Sunrun, Inc. is a foreign corporation, and it may be served through its registered agent for service,
    Corporation Service Company d/b/a CSC-Lawyers Incoiporating Service Company, at 211 E. 7th Street,
    Suite 620 Austin, TX 78701-3136 USA.

                                         Ill. JURISDICTION AND VENUE
    3.0 This Court has jurisdiction over the subject matter of this case because the events and omissions
    giving rise to this case occurred in Texas and because of this Court's general jurisdiction.

    3.1 This Court has jurisdiction over Defendant because Defendant has filed a UCC lien in Texas (which is
    void or voidable against Plaintiff) and maintains such minimum contacts that exercising jurisdiction
    would not offend the traditional notions of fair play and substantial justice. Alternatively, Defendant is
    sued in rem.

    3.2 Venue for this case is proper in Fort Bend County, Texas pursuant to Tex. Civ. P. and Rem. Code §
    Sec. 15.002(a)(1) and Tex. Civ. P. and Rem. Code § 15.011.
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3.3 Plaintiff seeks: only monetary relief of $250,000.00 or less; and demands for judgment for all the
other relief to which the party deems himself entitled.

3.4 The "most recent address on file with the secretary of state" and "home office" and "principal office"
for Sunrun, Inc. is 225 Bush St., Ste. 1400 San Francisco, CA 94104 USA


                                                 IV. FACTS
4.0 The "Property" at issue in this case is Lot 71, In Block 5 of Winfield Lakes, Section 6, a subdivision
in Fort Bend County, Texas, according to the plat recorded under Plat File No. 20050039 of the Official
Records of Fort Bend County, Texas.

4.1 Plaintiff purchased the Property from Tristan Washington (a non-party) by way of a Warranty Deed,
in a transaction that was insured by a title insurer on September 6, 2024. The deed was recorded on
September 12, 2024. On information and belief, Tristan had previously purchased the Property from
Cynthia Terry Yeldell (also a non party). Plaintiff had no notice of any lien that affected or was to affect
the Property, and she purchased the Property in good faith. Plaintiff paid good and valuable consideration
in the form of money for the Property.

4.2 Plaintiff expended money to renovate the home and attempted to sell the Property, when she was
informed by the title company that a UCC lien for solar panels affected the property. The lien was filed
around three weeks after Plaintiff purchased the property on September 30, 2024.

4.3 Plaintiff sent an email and certified letter to Defendant on April 22, 2025, explaining that Plaintiff
was a bona fide or innocent purchaser for value, and demanding a release. In that letter Plaintiff
explained that "she is losing money every day that the sale is postponed due to [Defendant's] offending
and void (or voidable) lien." The letter also explained that if Plaintiff was required to file suit, Plaintiff
would request attorney fees. However, to date, Defendant has not responded.


                                           V. CAUSES OF ACTION

 Plaintiff incorporates all factual allegations in this pleading into the following paragraphs.

 5.0 Quiet Title
 In Texas, the elements of the cause of action to quiet title are "(1) an interest in a specific property, (2)
 title to the property is affected by a claim by the defendant, and (3) the claim, although facially valid, is
 invalid or unenforceable." This case is not a dispute over title, but rather Plaintiff's effort to remove from
 the records a lien that is void ab initio or voidable. A suit merely seeking cancellation of a lien is not a
 trespass to try title case because it does not immediately determine title or possession. See Y~ilhoite v
 S'ints, 401 SW 3rd 752, 760 (Tex. App. -Dallas 2013, no pet.); Tompkins v. Hohnan, 537 SW 2nd 98, 99
 (Tex. Civ. App.-Austin, 1976, writ refused). A suit for a non possessory interest need not be brought as a
 trespass to try title suit. Shelton v. Kalbow, 489 SW 3d. 32, 55-57 (Tex. App.-Houston [ I4th Dist.] 2016
 pet. denied). A quiet title action allows a person of the feeblest equity to remove from her way to title any
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unlawful hindrance having the appearance of a better right. Essex Crane Rerttal Corp. v. Carter, 371
S.W.3d 366, 388 (Tex. App.—Houston [lst Dist.] 2012, pet. denied). The Court stated, "[a] suit for
cancellation of a deed is an assertion of an equitable right, namely, the right to have a voidable
deed cancelled. It is not a claim of right to title and possession of real property.

5.1 Declaratoiy Action
Plaintiff seelcs a declaration that the UCC Financing Statement filed in the official records of Fort Bend
County, Texas, bearing file number 2024094976 is void and that Plaintiff is a bona fide purchaser for
value. "In order to qualify as a good faith purchaser, [a party]...must demonstrate that (1) the purchase
was made in good faith, (2) for valuable consideration, and (3) made without actual or constructive
knowledge of any outstanding claims of any third party." Richards v. Suc:kle, 871 S.W.2d 239, 242 (Tex.
App.—Houston [14th Dist.] 1994, no writ)(citations omitted). When a person is a bona fide purchaser for
value, she may file suit to clear her title of any offending claims. Citÿ of Richlarzd Hills v. Ber•telse,i, 724
S.W.2d 428, 432 (Tex. App.—Fort Worth 1987, no writ).


5.2 Slander of Title
Plaintiff warned Defendant that she was unable to sell the Property due to its invalid lien.
Notwithstand'nig, Defendant failed to release the lien. Plaintiff has incurred money damages as a result of
being unable to sell the property.

                                              VI. OTHER ITEMS
6.0 Plaintiff gives notice that any and all documents produced during discoveiy may be used at any
pre-trial proceeding or trial of this matter without necessity of authenticating the docuinents. This notice
is given pursuant to Rule 193.7 of the Texas Rules of Civil. Procedure.

6.1 All conditions precedent to Plaintiff's recovery have been satisfied.

6.2 A11 contradictoty facts or law should be construed as alternative pleadings, and not as a judicial
admission.

6.3 A jury trial is demanded.

6.4 To the extent any opposing party claims limitations, Plaintiff claims the counterdefense of discoveiy
rule, fraudulent concealment and string along fraud.


                                                 VII. PRAYER



7.0 Wherefore, Plaintiff prays and demands that the Court require and award the following:
A.    that Defendant be cited and required to appear in this Court;
B.    a quiet title and declaratory judbnent consistent with this pleading;
C.    general damages;
D.    pre and post judgment interest, attorney fees and court costs.
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                                    Respectfully Subinitted,

                                    Chavana Law, PLLC:



                                /s/Sergio Perez
                                Sergio Perez
                                sergi o@chavana.lawyer
                                State of Texas Bar Number 241261 53

                                    2702 Little York Rd
                                    Houston, TX 77093
                                    Phone 713-979-2941
                                    Fax 281-783-2773
                       Case 4:25-cv-02848   Document 1-2    Filed on 06/18/25 in TXSD     Page 8 of 8
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